 8:09-cr-00092-LSC-FG3        Doc # 74     Filed: 04/29/10    Page 1 of 2 - Page ID # 493




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:09CR92
                                              )
                Plaintiff,                    )
                                              )
                vs.                           )                MEMORANDUM
                                              )                 AND ORDER
RICARDO A. FERNANDEZ,                         )
                                              )
                Defendant.                    )

       This matter is before the Court on the Defendant’s objections (Filing No. 72) to the

Magistrate Judge’s order (Filing No. 69) denying the Defendant’s motion to continue trial

or, in the alternative, for transportation, subsistence and lodging (Filing No. 68).

       Under 28 U.S.C. § 636(b)(1)(A) and NECrimR 59.2, the Court has reviewed the

order from which this appeal has been taken. A district court may set aside any part of the

magistrate judge's order shown to be clearly erroneous or contrary to law. 28 U.S.C. §

636(b)(1)(A).

       The Defendant’s reason for the requested continuance is that he is short of funds

to travel from California to Nebraska on “short” notice. When the Defendant was placed

on release, he was aware that he would have to travel to Nebraska for court appearances.

He has not had to appear in court since his release order was entered. In light of his

indigent status, however, the Court will order that the Defendant receive compensation for

noncustodial transportation to Nebraska and for “subsistence.” Reimbursement for lodging

is not authorized. Defense counsel did not state when the Defendant should arrive in

Omaha. The Court will order that he arrive in Omaha on Sunday, May 2, 2010.
 8:09-cr-00092-LSC-FG3        Doc # 74     Filed: 04/29/10    Page 2 of 2 - Page ID # 494




       Judge Gossett’s order regarding the request for a continuance is not clearly

erroneous or contrary to law. However, Judge Gossett did not address the request for

transportation, etc.

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant’s objections to the Magistrate Judge’s order (Filing No. 72)

              are denied with respect to the continuance and granted with respect to the

              request for transportation and subsistence;

       2.     The Magistrate Judge’s order (Filing No. 69) denying the Defendant’s motion

              to continue trial (Filing No. 68) is affirmed with respect to that issue; and

       3.     A separate order allowing noncustodial transportation and subsistence will

              be entered.

       DATED this 29th day of April, 2010.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




                                             2
